AO 187 (Rev. 7/87) Exhibit and Witness List



                                                  UNITED STATES DISTRICT COURT
                                                           NORTHERN DISTRICT OF FLORIDA

              UNITED STATES OF AMERICA                                                                                 EXHIBIT LIST
                                          v.
                            DEAN PADGETT                                                                                   Case Number: 5:24cr11-MW

PRESIDING JUDGE                                                        GOVERNMENT’S ATTORNEY                                      DEFENDANT’S ATTORNEY
                 MARK E. WALKER                                                         David Goldberg                              Elizabeth Vallejo & Juan Rodriguez
HEARING DATE (S)                                                       COURT REPORTER                                             COURTROOM DEPUTY
                 8/26/2024 - 8/28/2024                                                    Megan Hague                                      Victoria Milton McGee
 GOV.      DEF.        DATE
                                       MARKED         ADMITTED                                                         DESCRIPTION OF EXHIBITS*
  NO.      NO.        OFFERED

                     8/26/2024                                        Court Exhibit 1: Hard copy of defendant's opening statement PowerPoint
 1A-
                     8/26/2024                                        Diagrams of Gulf Correctional Institution
 1D
   2                 8/26/2024                                        Security video footage of Gulf Correctional Institution [flash drive]
 3A-
                     8/26/2024                                        Photographs of medical triage at Gulf Correctional Institution
 3E
 4A-
                     8/26/2024                                        Photographs of victim and defendant post incident
 4G
   5                 8/26/2024                                        Certified medical records of victim post incident [redacted]

   6                 8/26/2024                                        Mental health emergency logs

   8                 8/27/2024                                        Security video footage of medical hallway [flash drive]

  7A                 8/27/2024                                        Garrity rights assurance form

  7B                 8/27/2024                                        Miranda rights waiver form

  7C                 8/27/2024                                        Audio of defendant's statement to law enforcement [flash drive]

  7D                 8/27/2024                                        Transcript of defendant's statement to law enforcement
           1A-
                     8/27/2024                                        Perez photographs of medical triage at Gulf Correctional Institution
           1Z
             2       8/27/2024                                        Perez video of medical triage at Gulf Correctional Institution [flash drive]

             3       8/28/2024                                        Video of medical triage room [flash drive]

             4       8/28/2024                                        Complete video of Government Exhibit 8 [flash drive]




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                            Page 1 of   1   Pages
